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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                       Plaintiff,                  )
                                                   )                     8:08CR284
       vs.                                         )
                                                   )                       ORDER
WILLIAM K. ARENDT,                                 )
                                                   )
                       Defendant.                  )


         This matter is before the court on the defendant's motion for extension of time in which to
file pretrial motions [45]. Upon review of the file, the court finds that a 20-day extension should be
granted.

       IT IS ORDERED that the motion [45] is granted, in part, as follows:

       1.    The deadline for filing pretrial motions is extended to September 2, 2008.

         2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of justice
will be served by granting this motion and outweigh the interests of the public and the defendant
in a speedy trial. Any additional time arising as a result of the granting of this motion, that is, the
time between August 11, 2008 and September 2, 2008, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that counsel
require additional time to adequately prepare the case, taking into consideration due diligence of
counsel and the novelty and complexity of this case. The failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).

      3. Defendant shall file an affidavit or declaration regarding speedy trial, as required by
NECrimR 12.1 and/or 12.3, no later than August 20, 2008.

       DATED August 11, 2008.

                                               BY THE COURT:

                                               s/ F.A. Gossett
                                               United States Magistrate Judge
